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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                       Case No. 11-cr-61-PB

Rafael Benietz, et al.


                                O R D E R


     Defendant Domingo Hernandez, through counsel, has moved to

continue the trial scheduled for October 4, 2011, citing the need

for additional time to engage in further plea negotiations or to

prepare for trial.    The government and co-defendant, Rafael Benietz,

do not object to a continuance of the trial date.

     Accordingly, for the above reason and to allow time for the

parties to properly prepare for trial, the court will continue the

trial from October 4, 2011 to November 1, 2011.              In agreeing to

continue the trial, the court finds pursuant to 18 U.S.C.A. '

3161(h)(7)(A) that for the above-stated reasons, the ends of justice

served in granting a continuance outweigh the best interests of the

public and the defendants in a speedy trial.
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      The September 19, 2011 final pretrial conference is continued

to October 19, 2011 at 2:30 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge


September 19, 2011

cc:   Alexander Cain, Esq.
      Jennifer Davis, AUSA
      Sven Wiberg, Esq.
      United States Probation
      United States Marshal




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